Dear Auditor Schweich:
This office received your letter of October 25, 2011, submitting a fiscal note and fiscal note summary prepared under § 116.175, RSMo, for an initiative petition submitted by Christopher Grant (version 2). The fiscal note summary that you submitted is as follows:
  Increased state and local government wage and benefit costs resulting from this proposal will exceed $1 million annually. State government income and sales tax revenue could increase by an estimated $14.4 million annually; however, business employment decisions will impact any potential change in revenue. Local government revenue will change by an unknown amount.
Under § 116.175.4, RSMo, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should *Page 2 
be construed as an endorsement of the initiative petition or as the expression of any view regarding the objectives of its proponents.
  Very truly yours,
  ____________________ CHRIS KOSTER Attorney General *Page 1 